                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK


 E. JEAN CARROLL,

                       Plaintiff,

          v.                                          No. 20 Civ. 7311 (LAK)

 DONALD J. TRUMP, in his personal capacity

                       Defendant.


          NOTICE OF PLAINTIFF E. JEAN CARROLL’S MOTION TO AMEND

         PLEASE TAKE NOTICE that Plaintiff E. Jean Carroll hereby moves this Court, before

the Honorable Lewis A. Kaplan, United States District Judge for the Southern District of New

York, located at 500 Pearl Street, New York, NY 10007, on a date to be set by the Court, for an

order granting Carroll’s motion to amend her complaint under Federal Rule of Civil Procedure

15(a).

         This motion is supported by the annexed memorandum of law and the declaration of

Roberta A. Kaplan and accompanying exhibits.
Dated: New York, New York       Respectfully submitted,
       May 22, 2023

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                                hac vice)
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